      Case 1:19-cv-02367-ABJ          Document 138        Filed 05/21/24   Page 1 of 21




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


                                                      )
PETER STRZOK,                                         )
                        Plaintiff,                    )
         v.                                           )
                                                      )
ATTORNEY GENERAL MERRICK GARLAND, )                          Civil Action No. 19-2367 (ABJ)
in his official capacity as Attorney General, et al., )
                                                      )
                        Defendants.                   )
                                                      )
                                                      )
                                                      )
LISA PAGE,                                            )
                        Plaintiff,                    )
         v.                                           )
                                                      )      Civil Action No. 19-3675 (TSC)
U.S. DEPARTMENT OF JUSTICE, et al.,                   )
                                                      )
                        Defendants.                   )
                                                      )


    PLAINTIFF LISA PAGE’S MOTION TO SUPPLEMENT EXPERT DISCOVERY
                           (REDACTED COPY)
         Case 1:19-cv-02367-ABJ                         Document 138                  Filed 05/21/24                Page 2 of 21




                                                    TABLE OF CONTENTS

INTRODUCTION .......................................................................................................................... 1
RELEVANT BACKGROUND ...................................................................................................... 3
I.        Procedural History .............................................................................................................. 3
II.       Ms. Page’s Initial Expert Disclosures and the Facts Underlying Her Lost Earnings
          Claims ................................................................................................................................. 6
LEGAL FRAMEWORK ................................................................................................................ 9
ARGUMENT ................................................................................................................................ 11
I.        Supplementation Is Warranted Based on New Information and Developments Since
          November 2021 ................................................................................................................. 11
II.       Granting Leave to Disclose an Economic Expert Will Not Prejudice Any Party and Will
          Assist the Court ................................................................................................................. 13
III.      There Is Good Cause to Permit the Requested Relief....................................................... 17
IV.       All Parties’ Expert Reports Contain Outdated and Incorrect Earnings Information, and the
          Necessary Updates Should Take Place in a Coordinated Sequence ................................. 18
CONCLUSION ............................................................................................................................. 18
      Case 1:19-cv-02367-ABJ          Document 138        Filed 05/21/24      Page 3 of 21




                                      INTRODUCTION1

       Plaintiff Lisa Page respectfully submits this motion to supplement expert discovery to

update her prior expert disclosures, which occurred two and a half years ago in November 2021. 2

       Ms. Page claims that the Privacy Act violation in this case, which created a media spectacle

out of her text messages and irreversibly damaged her reputation and employment prospects, has

significantly impaired her earning capacity—impairment that continues to the present day and

likely will persist for the rest of her career. A substantial component of Ms. Page’s damages

therefore consists of her lost earnings: the difference between her “actual earnings” (the amounts

she actually earned and is projected to earn in the future) and her “but-for earnings” (the amounts

she would have earned, both to date and in the future, had the Privacy Act violation not occurred).

As is customary, Ms. Page relies on expert testimony in connection with her lost earnings claims.

       Ms. Page brings this motion based on changes in her employment situation that occurred

after she made her November 2021 disclosure of two experts: Anthony Bird, a vocational expert,

and Professor Danielle Citron, an expert in privacy harms and their effects. In particular, in

November 2023—two years after Ms. Page’s vocational expert disclosed his opinions on her

employability and loss of earning capacity—Ms. Page switched jobs and the nature of her actual

compensation (i.e., one of the two inputs that goes into her lost earnings damages calculation)

changed significantly, becoming considerably more variable and complex. In addition, the prior



1
  The above-captioned cases have been consolidated for purposes of discovery. The parties in
Civil Action No. 19-2367 (ABJ) are Plaintiff Peter Strzok and Defendants U.S. Department of
Justice (“DOJ”); Federal Bureau of Investigation (“FBI”); Attorney General Merrick Garland, in
his official capacity; and FBI Director Christopher A. Wray, in his official capacity. The parties
in Civil Action No. 19-3675 (TSC) are Plaintiff Lisa Page and Defendants DOJ and FBI.
2
  The parties have conferred pursuant to Local Rule 7(m). Mr. Strzok consents to the requested
relief, and Defendants oppose it.
      Case 1:19-cv-02367-ABJ           Document 138          Filed 05/21/24   Page 4 of 21




expert disclosures had to project future actual earnings for all periods after November 2021,

whereas actual data on Ms. Page’s real-world earnings in 2022 and 2023 are now available. Ms.

Page now seeks to supplement her expert disclosures to create an accurate and up-to-date record

for an award of damages in this case, consistent with her obligations under Rule 26(e).

       Specifically, Ms. Page requests that the Court (1) permit her to disclose an economic expert

to address new forms of compensation and assist in the calculation of lost earnings; (2) authorize

Defendants to update their rebuttal expert disclosures in response, if they wish; and (3) permit the

parties to conduct limited expert depositions in connection with these additional disclosures. The

legitimate basis for these updates and Ms. Page’s diligence throughout the discovery period

establish the “good cause” required to modify a scheduling order under Rule 16(b). Moreover,

Defendants will not be prejudiced, as no trial date has been set and Ms. Page agrees that Defendants

should have the opportunity to supplement their rebuttal disclosures and conduct additional expert

depositions as needed. Richardson v. Korson, 905 F. Supp. 2d 193, 200 (D.D.C. 2012).

       All parties agree that discovery is closed and that the cases should proceed to summary

judgment as soon as possible. Strzok v. Garland, Civil Action No. 19-2367 (ABJ), Joint Status

Report at 4, 10 (May 20, 2024), ECF No. 136. But expert discovery took place years ago, and it

is unsurprising that some amount of supplementation would be needed, particularly after a six-

month stay in the litigation. Importantly, the earnings figures in all parties’ expert reports have

become outdated since the reports were served in 2021-2022, and they will need to be updated to

comply with Rule 26(e). Thus, authorizing Ms. Page to disclose an economic expert will not

require a separate round of updates to the expert reports.

       For the reasons explained below, Ms. Page respectfully requests that the Court grant this

motion and direct the parties to meet and confer to propose a schedule for all supplementation.

                                                 2
Case 1:19-cv-02367-ABJ   Document 138   Filed 05/21/24   Page 5 of 21
Case 1:19-cv-02367-ABJ   Document 138   Filed 05/21/24   Page 6 of 21
       Case 1:19-cv-02367-ABJ           Document 138        Filed 05/21/24       Page 7 of 21




the August 10, 2022 discovery conference. See Strzok, Minute Order (Feb. 28, 2022) (“All

discovery must be completed by August 15, 2022.”); Strzok, Minute Order (Aug. 10, 2022).

        9.      Between August 2022 and October 2023, there were significant delays in the

litigation.   In December 2022, Plaintiffs succeeded in reentering a pretrial schedule over

Defendants’ objection, and the court ordered the remaining fact discovery (aside from discovery

affected by the pending apex doctrine and executive privilege dispute) to conclude by March 15,

2023. See Strzok, Minute Order (Dec. 8, 2022); Strzok, Joint Status Report (Dec. 16, 2022); Strzok,

Minute Order (Dec. 21, 2022). In 2023, the cases were further delayed while Defendants

challenged the Court’s decision to allow the limited depositions of Donald Trump and Christopher

Wray. Among other things, Defendants moved the Court for reconsideration, attempted to stay or

postpone both depositions, and sought mandamus from the D.C. Circuit.

        10.     As a result of the unusual progression of this litigation, fact discovery did not close

until October 2023, nearly two years after Plaintiffs served their expert reports in November 2021.

        11.     The cases were in mediation from November 2021 to May 2024. The mediation

period closed on May 13, 2024, and the litigation stay expired on the same day. See Strzok, Minute

Order (May 6, 2014) (“The cases remain STAYED pending the close of mediation.”); Strzok, Joint

Status Report (May 13, 2024), ECF No. 135; Strzok, Minute Order (May 13, 2024).

        12.     On May 13, 2024, the court directed the parties to file a further joint status report

by May 20, 2024, addressing (1) whether the cases should remain consolidated and (2) next steps

in the litigation. See Strzok, Minute Order (May 13, 2024). The parties filed that joint status report

yesterday. See Strzok, Joint Status Report (May 20, 2024), ECF No. 136.




                                                  5
Case 1:19-cv-02367-ABJ   Document 138   Filed 05/21/24   Page 8 of 21
Case 1:19-cv-02367-ABJ   Document 138   Filed 05/21/24   Page 9 of 21
Case 1:19-cv-02367-ABJ   Document 138   Filed 05/21/24   Page 10 of 21
Case 1:19-cv-02367-ABJ   Document 138   Filed 05/21/24   Page 11 of 21
     Case 1:19-cv-02367-ABJ          Document 138          Filed 05/21/24    Page 12 of 21




an ‘adverse effect’ on the plaintiff, 5 U.S.C. § 552a(g)(1)(D).” Maydak v. United States, 630 F.3d

166, 177-78 (D.C. Cir. 2010); see also Kelley v. FBI, 67 F. Supp. 3d 240, 252-54 (D.D.C. 2014).

Once willfulness is established, the statute provides for “actual damages” and “reasonable attorney

fees as determined by the court.” 5 U.S.C. § 552a(g)(4).

       For the claims to survive summary judgment, Ms. Page must show that she has experienced

some amount of actual damages. Doe v. Chao, 540 U.S. 614, 627 (2004). Ms. Page identified and

substantiated multiple categories of damages in discovery: (1) lost earnings due to reputational

damage; (2) attorney fees incurred to respond to the disclosure in 2017-2018 (separate from fees

incurred in this litigation); (3) the cost of paying a data-privacy service to protect her personal

information; (4) the cost of therapy and other medical expenses; and (5) public relations costs. 6

There is no minimum threshold to satisfy the “actual damages” requirement or trigger the

availability of “reasonable attorney fees.” See 5 U.S.C. § 552a(g)(4).

       Ms. Page seeks to update her November 2021 expert disclosures in connection with her

claim for lost earnings damages. Under Rule 26(e), a party must supplement or correct a disclosure

under Rule 26(a), including an expert disclosure, “in a timely manner if the party learns that in

some material respect the disclosure or response is incomplete or incorrect,” or “as ordered by the

court.” Fed R. Civ. P. 26(e)(1). For expert witnesses whose reports must be disclosed under Rule

26(a)(2)(B), “the party’s duty to supplement extends both to information included in the report and

to information given during the expert’s deposition.” Fed. R. Civ. P. 26(e)(2).




6
  Each theory provides an independent basis for damages. See, e.g., Fleck v. Dep’t of Veterans
Affairs Off. of Inspector Gen., 596 F. Supp. 3d 24, 57 (D.D.C. 2022) (“Legal fees that a plaintiff
incurs to protect against the effects of an agency’s Privacy Act violations are cognizable damages
under Section 552a(g)(4).”).

                                                10
Case 1:19-cv-02367-ABJ   Document 138   Filed 05/21/24   Page 13 of 21
Case 1:19-cv-02367-ABJ   Document 138   Filed 05/21/24   Page 14 of 21
Case 1:19-cv-02367-ABJ   Document 138   Filed 05/21/24   Page 15 of 21
Case 1:19-cv-02367-ABJ   Document 138   Filed 05/21/24   Page 16 of 21
      Case 1:19-cv-02367-ABJ             Document 138        Filed 05/21/24       Page 17 of 21




untimely report, a court may permit submission of the report.”); Dormu v. D.C., 795 F. Supp. 2d

7, 28 n.16 (D.D.C. 2011) (“Dormu’s motion comes several months prior to trial, leaving

defendants with sufficient time to adjust their trial preparation.”); Gaither, 2008 WL 5869876, at

*3 (“[T]he elongated time frame presented by the current pretrial schedule will provide Plaintiff

with sufficient time to process and respond to Defendants’ supplemental report.”); SD3, LLC v.

Rea, 71 F. Supp. 3d 189, 195 (D.D.C. 2014) (“[N]o date for trial has been set. Therefore, SD3 has

ample opportunity to internalize the new information provided by Dr. Landy into its trial strategy

. . . the Court will briefly and narrowly reopen discovery for the purpose of allowing SD3 to depose

Dr. Landy solely regarding this declaration, if it so chooses.”). Such curative measures allow

additional disclosures to occur without undermining the purpose of Rule 26: “to prevent unfair

surprise at trial and to permit the opposing party to prepare rebuttal reports, to depose the expert

in advance of trial, and to prepare for depositions and cross-examinations at trial.” Richardson,

905 F. Supp. 2d at 198 (quoting Minebea Co., Ltd. v. Papst, 231 F.R.D. 3, 5-6 (D.D.C. 2005)).

           Here, there is ample time for Defendants to respond to the proposed disclosure before trial.

It is significant for purposes of the analysis that a trial date has not been set. See, e.g., id. at 200;

SD3, 71 F. Supp. 3d at 195; Burns v. Georgetown Univ. Med. Ctr., 106 F. Supp. 3d 238, 241

(D.D.C. 2015) (exercising discretion to allow a “second expert report” where “the Court has not

yet set a schedule for the briefing of dispositive motions or set a trial date in this case”); Barnes v.

D.C., 289 F.R.D. 1, 13 (D.D.C. 2012) (“Although this Court wants to finish discovery and proceed

to trial as soon as possible, it has not yet set a trial date.”); Williams v. U.S. Dep't of Veterans

Affairs, No. 16-cv-2062 (EGS), 2020 WL 1323305, at *11 (D.D.C. Mar. 20, 2020) (“The Court

discerns no harm or prejudice to the Defendants because the Court has not set a trial date in this

case.”).

                                                   15
      Case 1:19-cv-02367-ABJ           Document 138         Filed 05/21/24      Page 18 of 21




       Finally, while the proposed disclosure would not prejudice Defendants, denying Ms.

Page’s request would unfairly penalize her for delays that were outside of her control. Due to the

unusual progression of this litigation, expert discovery took place between November 2021 and

September 2022, concluding around the time all discovery was supposed to be completed in

August 2022. The cases were then significantly delayed from August 2022 to October 2023, while

Defendants resisted reentering a pretrial schedule and unsuccessfully challenged the Court’s

rulings related to the Trump and Wray depositions. For the past six months, the cases have been

in mediation. Ms. Page met all discovery deadlines from 2020-2023, and her selection of experts

in November 2021 was necessarily tailored to her employment situation at the time. It is

unsurprising that, over such a lengthy period, Ms. Page would have experienced changes in her

employment and compensation, many of which were unforeseeable in 2021.

       In considering whether to permit an additional expert disclosure, courts take into account

the effect of exclusion on the party requesting the relief. Where “the harm to Plaintiff of precluding

the report outweighs the disruption” caused by a limited reopening of discovery, courts have

allowed the disclosure. Richardson, 905 F. Supp. 2d at 200. This is true even where the late

disclosure is the fault of the party or its expert. In Richardson, for example, the court permitted

supplementation even though it was undisputed that “the sources disclosed in the Addendum were

available to Plaintiff’s expert at the time of the original report” and it was “not the first time such

incomplete initial submissions have been made by this expert,” noting that “preclusion of evidence

is an extreme sanction.” Id. at 200-01. Likewise, in Williams v. U.S. Department of Veterans

Affairs, the court permitted the plaintiff to “either file a supplemental expert report or retain a new

expert witness” where his previously disclosed expert used the wrong standard of care, explaining

that the standard of care was “an essential element of his FTCA claims.” 2020 WL 1323305 at

                                                  16
       Case 1:19-cv-02367-ABJ          Document 138        Filed 05/21/24      Page 19 of 21




*1, 8, 11. The rationale for permitting an additional expert is even stronger here, where Ms. Page

is seeking relief based on a change in circumstances and it is not the fault of her vocational expert

that aspects of her new compensation are outside the scope of the services he agreed to provide.

III.    There Is Good Cause to Permit the Requested Relief

        Relief is likewise warranted under the “good cause” standard that applies to the

modification of a scheduling order under Rule 16(b). Prior iterations of the schedule required

Plaintiffs to serve their expert disclosures by November 19, 2021 and Defendants to serve their

expert rebuttal report by August 2022. Subsequent discovery deadlines were extended many times,

and no pretrial schedule is currently in effect.

        “Rule 16(b)’s ‘good cause’ standard primarily considers the diligence of the party seeking

the amendment,” and “[t]he district court may modify the pretrial schedule ‘if it cannot reasonably

be met despite the diligence of the party seeking the extension.’”           Johnson v. Mammoth

Recreations, Inc., 975 F.2d 604, 609 (9th Cir. 1992) (quoted in Barnes v. D.C., 289 F.R.D. 1, 7

(D.D.C. 2012)). Here, the relevant changes in Ms. Page’s employment situation occurred after her

initial expert disclosures were due in November 2021. The most significant change, her recent

transition to a new job and compensation structure, did not occur until November 20, 2023—after

the parties completed expert discovery in September 2022, after the parties completed all

discovery unaffected by the apex doctrine and executive privilege disputes in March 2023, after

the parties completed all discovery in October 2023, and after the parties agreed to refer the cases

to mediation on November 17, 2023.

        Ms. Page has been diligent in complying with the discovery deadlines that applied in 2020-

2023, and there is good cause to permit the requested disclosure based on factual developments

that post-date those deadlines.


                                                   17
      Case 1:19-cv-02367-ABJ          Document 138         Filed 05/21/24      Page 20 of 21




IV.    All Parties’ Expert Reports Contain Outdated and Incorrect Earnings Information,
       and the Necessary Updates Should Take Place in a Coordinated Sequence

       As Defendants acknowledged in the May 20, 2024 joint status report, all parties will need

to update their expert disclosures from 2021-2022 “to account for Plaintiffs’ updated income

information.” See Strzok, Joint Status Report, at 9 (May 20, 2024), ECF No. 136. These updates

should occur in a coordinated sequence, particularly because Defendants’ expert is a rebuttal

expert who is limited as to subject matter. See Fed. R. Civ. P. 26(a)(2)(D)(ii). If the Court grants

this motion, Ms. Page requests that the Court direct the parties to meet and confer to propose a

schedule for all supplementation, including Ms. Page’s disclosure of an economic expert.

                                         CONCLUSION

       For the reasons explained above, Ms. Page respectfully requests that the court grant this

motion and enter the attached proposed order.

Date: May 21, 2024                                   Respectfully submitted,

                                                     /s/ Amy Jeffress
                                                     Amy Jeffress (D.C. Bar 449258)
                                                     Robert J. Katerberg (D.C. Bar 466325)
                                                     Kaitlin Konkel (D.C. Bar 1021109)
                                                     ARNOLD & PORTER
                                                       KAYE SCHOLER LLP
                                                     601 Massachusetts Avenue NW
                                                     Washington, DC 20001-3743
                                                     Telephone: (202) 942-5000
                                                     Fax: (202) 942-5999
                                                     Amy.Jeffress@arnoldporter.com
                                                     Robert.Katerberg@arnoldporter.com
                                                     Kaitlin.Konkel@arnoldporter.com

                                                     Counsel for Plaintiff Lisa Page




                                                18
     Case 1:19-cv-02367-ABJ         Document 138       Filed 05/21/24     Page 21 of 21




                               CERTIFICATE OF SERVICE

       I hereby certify that, on May 21, 2024, I caused a copy of the foregoing to be filed via

CM/ECF and served via e-mail on counsel of record for Defendants, as well as on counsel of

record for Peter Strzok in Civil Action No. 19-2367 (ABJ).

                                                   /s/ Amy Jeffress
                                                   Amy Jeffress
